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                             UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

 TEDDY BILLIOT, ET AL,                                     NO. 2:21-cv-01144(J)(2)

 Plaintiffs,

 vs.                                                       JUDGE: BARBIER

 THE TERREBONNE PARISH SCHOOL                              MAGISTRATE: CURRAULT
 BOARD, ET AL
 Defendants.

                     MOTION TO SET SETTLEMENT CONFERENCE

        Plaintiffs, Teddy Billiot, Mary Verdin, Liza Naquin, Tasha Dardar, Jade Billiot Bergeron,

Lanny Dardar, Candace Hendon, Kelly Naquin, Loretta Verdin, Casey Dardar, Shana Rae Dardar,

and Joan Brunet, appearing thorough undersigned counsel, move the Court to set a settlement

conference as soon as its calendar may permit.

        The grounds for this motion are as follows:

        1.     The Pointe au Chien Indian Tribe [“PACIT”] has approved a resolution authorizing

it to accept a donation to it of the Pointe aux Chênes Elementary School [“PACES”] “as is” in

order to establish and operate a Type II French Immersion charter school, the charter for which, in

order to be effective for the 2022-2023 school year, must be submitted by PACIT in early January

of 2022.

        2.     As the PACES facility is heavily damaged with extensive repairs required in order

to make it ready for classes in August of 2022, a settlement agreement will require the extensive,

although reasonable cooperation, of the defendants.

        3.     Although plaintiffs have made good faith overtures to settle this matter, defendants

have been nonresponsive to discussions on the specific parameters of the settlement as proposed,


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       4.     In order for there to be a meeting of the minds on the specifics of settlement, it is

felt that a follow up settlement conference would be productive.

                                     Respectfully submitted,
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                                    Tasha Dardar, Jade Billiot Bergeron, Lanny Dardar,
                                    Candace Hendon, Kelly Naquin, Loretta Verdin, Casey
                                    Dardar, Shana Rae Dardar, and Joan Brunet

                                        CERTIFICATE

       I hereby certify that I have served the foregoing pleading by ECF on December 23, 2021.

                                            /s/ Louis R. Koerner, Jr.




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